Case 4:04-cv-02688-JEJ Document 200-7 Filed 09/21/05 Page 1 of 3

Exhibit D
EXHIBIT.

N
®
Do
Oo

oO

LO

©

on

a

N

—.

o

oO

TO

@

i

iy
| oO
oO
N
_
Cc
fr ©
rc
f| oO
; O

oO
a
Pr

uw

?

» CO
oO
co
AN
oO
>
Eo
st
1S

Tt
®
Yn
©

O

 

     

The Meaning of Evolution—A Study of the
History of Life and of Its Significance for
Man—A world-famous scientist goes far
bevond Darwinism in this book to a dis-

 

wf 3

    

$1.45 < the.

*' \ Meaning
ee @ gy? / f 2
3 Evolution

 
                  

04-cVv

Case.4

 

 

TARY

@

venetics and infegration
Sy 1 othe helds of stud
produced a theory that
ntalistic ar finalistic evasions,

 

 

 

‘ORTESS, ty progress tox any
Heol point, be considered as char-
vIntion, or even as inherent in it. Progres

  

if it is of many difler

sarately in many different
ort of progress in structure and function that
ad and important is
of the indi vidual

and sureness of appropri-

ycenure coe

whe LEE SD iY.

 

pape

=
ro
fod
m
os
-_
~

 

 

 

Among the many different lines that
in this respect, the line leading to man
ie highest Tevel yet developed. By many
pr is at least among the

 

and a balance of considerations warrants
ghest of all.

of a purposeless and pvatural proces
ve him in mind, He was not planned. He
rae r, a form ot life, a sort of animal, and a
Order Primates, akin nearly or remotely to
indeed to all that is material. It is, however,
a gross misrepresentation to say that he is just an accident
or nothing but an animal. Among all the myriad forms of
matter and of life on the earth, or as far as we know in
the universe, man is unique. He happens to represent the
highest form of organization of matter and energy that
ever appeared. Recognition of this kinship with the
of the universe is necessary for understanding hiim,
his essential nature is defined by anualities found

aa

4 am

 

  

 

 

COPE

     

eoyice

 

 

         

ISL

Ro Bie

 

 

C ft provide ar
lute ethical c

 

   

svelation, If ha
ed that it ally nadermine:
ethic hich will
Tature or oO
elation. Such attempts, arising

of the baseless neces gf intuitive ethics “ have

 

 

  

if

from the » workings of

  

 
